                    Case 22-30113            Doc 1       Filed 03/15/22 Entered 03/15/22 16:56:31                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Quantum Development Charlotte, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2001 Hartwicke Place
                                  Charlotte, NC 28270
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Quantum Development Charlotte, LLC                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Quantum Development Charlotte, LLC                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Quantum Development Charlotte, LLC                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Quantum Development Charlotte, LLC                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 15, 2022
                                                  MM / DD / YYYY


                             X   /s/ Richard D. Campbell                                                  Richard D. Campbell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member/Manager




18. Signature of attorney    X   /s/ R. Keith Johnson                                                      Date March 15, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 R. Keith Johnson
                                 Printed name

                                 Law Offices of R. Keith Johnson, P.A.
                                 Firm name

                                 1275 S. Hwy. 16
                                 Stanley, NC 28164
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-827-4200                  Email address      kjparalegal@bellsouth.net

                                 8840 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 15, 2022                          X /s/ Richard D. Campbell
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard D. Campbell
                                                                       Printed name

                                                                       Member/Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:
 Debtor name Quantum Development Charlotte, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Diesel                                                                                 Contingent                                                                        $39,339.60
 Business Capital,                                                                      Unliquidated
 LLC                                                                                    Disputed
 88 Pine St.
 New York, NY 10005
 Edens (PRSC                                                     Debt of East 1511                                                                                        $40,000.00
 Holdings)                                                       - Property at 4271
 PO Box 536856                                                   Park Road; Lease
 Atlanta, GA 30353                                               terminates 2024
 Emerald Group                                                                          Contingent                                                                        $30,324.57
 Holdings, LLC                                                                          Unliquidated
 48 Wall St., 10th                                                                      Disputed
 Floor
 New York, NY 10005
 Employers                                                                                                                                                                  $3,321.00
 PO Box 539003
 Henderson, NV
 89053
 Fiji Funding, LLC                                                                      Contingent                                                                        $73,113.00
 c/o Yehuda Jay                                                                         Unliquidated
 Klein, Esq.                                                                            Disputed
 The Klein Law Firm
 3180 18th St.
 San Francisco, CA
 94110
 Flash Funding                                                                          Contingent                                                                        $91,420.44
 4000 Hollywood                                                                         Unliquidated
 Blvd.                                                                                  Disputed
 Hollywood, FL
 33021
 Funding Metrics                                                                        Contingent                                                                        $80,343.78
 1330 Ave. of the                                                                       Unliquidated
 Americas, Ste. 23A                                                                     Disputed
 New York, NY 10019




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Quantum Development Charlotte, LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                                                                                                                                       $630,000.00
 Service
 320 Federal Place
 Greensboro, NC
 27401
 Jewell Agency                                                                                                                                                            $11,000.00
 18 Sunrise Point Ct.
 Lake Wylie, SC
 29710
 Koury Corporation                                               Debt of Toringdon                                                                                      $106,800.00
 Attn: Doug Heberle,                                             1511 and
 Esq.                                                            Arboretum 1511 -
 2275 Vanatory St.,                                              (Toringdon)
 Ste. 200                                                        Property at 12330
 Greensboro, NC                                                  Johnston Rd.;
 27403                                                           Lease terminates
                                                                 2030; (Arboretum)
                                                                 12206 Copper
                                                                 Way; Lease ter
 Metro Capital, LLC                                                                     Contingent                                                                      $124,443.15
 600 Center St.                                                                         Unliquidated
 Herndon, VA 20170                                                                      Disputed
 MP Shopping Center                                              Debt of                                                                                                  $13,230.85
 c/o Southern Real                                               Mooresville 1511 -
 Estate                                                          Property at 120-D
 4201 Congress St.,                                              Market Place
 Ste. #170                                                       Avenue; Lease
 Charlotte, NC 28209                                             terminates 2029
 NC Department of                                                                                                                                                       $360,000.00
 Revenue
 P. O. Box 25000
 Raleigh, NC 27640
 Oilmatic                                                        Debt of East 1511                                                                                          $3,363.01
 521 Eagleton Downs
 Dr., Ste. A
 Pineville, NC 28134
 United Health Care                                                                                                                                                         $8,941.76
 PO Box 94017
 Palatine, IL 60094
 US Foods                                                        Debt of Toringdon                                                                                        $24,873.28
 PO Box 602292                                                   1511
 Charlotte, NC 28260
 US Foods                                                        Debt of                                                                                                  $18,786.76
 PO Box 602292                                                   Mooresville 1511
 Charlotte, NC 28260
 US Foods                                                        Debt of East 1511                                                                                        $53,201.77
 PO Box 602292
 Charlotte, NC 28260




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Quantum Development Charlotte, LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Velocity Capital                                                                       Contingent                                                                        $67,048.00
 Group                                                                                  Unliquidated
 333 Pearsall Ave.,                                                                     Disputed
 Ste. 105
 Cedarhurst, NY
 11516
 Wilmar, Inc.                                                    Debt of Quantum                                                                                            $5,257.93
 PO Box 221272                                                   Development
 Charlotte, NC 28222                                             Corp.




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            38,317.01

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            38,317.01


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           218,400.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           990,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           809,992.97


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,018,392.97




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name          Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Woodforest National Bank                      Describe debtor's property that is subject to a lien                 $218,400.00               $250,000.00
        Creditor's Name
        c/o Thomas L. Ogburn, III,
        Esq.
        301 S. College St., Ste.
        2900
        Charlotte, NC 28202
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $218,400.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $630,000.00          $630,000.00
           Internal Revenue Service                                  Check all that apply.
           320 Federal Place                                            Contingent
           Greensboro, NC 27401                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           Various
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Iredell Co. Tax Collector                                 Check all that apply.
           P. O. Box 1027                                               Contingent
           Statesville, NC 28687                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 8
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 Debtor       Quantum Development Charlotte, LLC                                                              Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $0.00    $0.00
           Mecklenburg County Tax Collector                          Check all that apply.
           3205 Freedom Dr., #3000                                      Contingent
           Charlotte, NC 28208                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $360,000.00       $360,000.00
           NC Department of Revenue                                  Check all that apply.
           P. O. Box 25000                                              Contingent
           Raleigh, NC 27640                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $386.00
           Arc3 Gases                                                                  Contingent
           518 W. 24th St.                                                             Unliquidated
           Charlotte, NC 28206                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Debt of Mooresville 1511
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $300.00
           BenefitBay                                                                  Contingent
           13750 Millard Ave., Ste. 100                                                Unliquidated
           Omaha, NE 68137                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $39,339.60
           Diesel                                                                      Contingent
           Business Capital, LLC
                                                                                       Unliquidated
           88 Pine St.
           New York, NY 10005                                                          Disputed

           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 8
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 Debtor       Quantum Development Charlotte, LLC                                                      Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $558.68
          DS1 Phone Systems                                                     Contingent
          13500 Crystal Springs Dr.                                             Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Mooresville 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,000.00
          Edens (PRSC Holdings)                                                 Contingent
          PO Box 536856                                                         Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                                            Debt of East 1511 - Property at 4271 Park Road;
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Lease terminates 2024
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,324.57
          Emerald Group Holdings, LLC                                           Contingent
          48 Wall St., 10th Floor
                                                                                Unliquidated
          New York, NY 10005
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,321.00
          Employers                                                             Contingent
          PO Box 539003                                                         Unliquidated
          Henderson, NV 89053                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0005
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $73,113.00
          Fiji Funding, LLC
          c/o Yehuda Jay Klein, Esq.                                            Contingent
          The Klein Law Firm                                                    Unliquidated
          3180 18th St.                                                         Disputed
          San Francisco, CA 94110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $91,420.44
          Flash Funding                                                         Contingent
          4000 Hollywood Blvd.
                                                                                Unliquidated
          Hollywood, FL 33021
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,508.71
          Freshpoint                                                            Contingent
          1200 Oakley Industrial Blvd., Ste. B                                  Unliquidated
          Fairburn, GA 30213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of East 1511
          Last 4 digits of account number       7444
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 8
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 Debtor       Quantum Development Charlotte, LLC                                                      Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,833.89
          Freshpoint                                                            Contingent
          1200 Oakley Industrial Blvd., Ste. B                                  Unliquidated
          Fairburn, GA 30213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Mooresville 1511
          Last 4 digits of account number       7442
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,227.83
          Freshpoint                                                            Contingent
          1200 Oakley Industrial Blvd., Ste. B                                  Unliquidated
          Fairburn, GA 30213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Toringdon 1511
          Last 4 digits of account number       8663
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80,343.78
          Funding Metrics                                                       Contingent
          1330 Ave. of the Americas, Ste. 23A
                                                                                Unliquidated
          New York, NY 10019
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Huneycutt                                                             Contingent
          3840 Matthews Indian Trail Rd., Ste. 2                                Unliquidated
          Matthews, NC 28104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of East 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Huneycutt                                                             Contingent
          3840 Matthews Indian Trail Rd., Ste. 2                                Unliquidated
          Matthews, NC 28104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Mooresville 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Huneycutt                                                             Contingent
          3840 Matthews Indian Trail Rd., Ste. 2                                Unliquidated
          Matthews, NC 28104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Toringdon 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Insurance Office of America                                           Contingent
          1221 Bower Pkwy., Ste. 101                                            Unliquidated
          Columbia, SC 29212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 8
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              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,000.00
          Jewell Agency                                                         Contingent
          18 Sunrise Point Ct.                                                  Unliquidated
          Lake Wylie, SC 29710                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $106,800.00
          Koury Corporation                                                     Contingent
          Attn: Doug Heberle, Esq.                                              Unliquidated
          2275 Vanatory St., Ste. 200                                           Disputed
          Greensboro, NC 27403
                                                                                            Debt of Toringdon 1511 and Arboretum 1511 -
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             (Toringdon) Property at 12330 Johnston Rd.; Lease terminates 2030;
          Last 4 digits of account number                                    (Arboretum) 12206 Copper Way; Lease terminates 2031
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $771.27
          Loomis Insurance                                                      Contingent
          PO Box 14354                                                          Unliquidated
          Reading, PA 19612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0289
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $124,443.15
          Metro Capital, LLC                                                    Contingent
          600 Center St.
                                                                                Unliquidated
          Herndon, VA 20170
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number       2993                         Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,230.85
          MP Shopping Center                                                    Contingent
          c/o Southern Real Estate                                              Unliquidated
          4201 Congress St., Ste. #170                                          Disputed
          Charlotte, NC 28209
                                                                                            Debt of Mooresville 1511 - Property at 120-D Market
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Place Avenue; Lease terminates 2029
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,025.00
          O'Keefe Group (TOG)                                                   Contingent
          PO Box 1240                                                           Unliquidated
          Attleboro, MA 02703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of East 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,363.01
          Oilmatic                                                              Contingent
          521 Eagleton Downs Dr., Ste. A                                        Unliquidated
          Pineville, NC 28134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of East 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Penn National Insurance                                               Contingent
          2 North Second St.                                                    Unliquidated
          Harrisburg, PA 17101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,598.74
          Postec                                                                Contingent
          1125 Northmeadow Pkwy., Ste. 114                                      Unliquidated
          Roswell, GA 30076                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Mooresville 1511
          Last 4 digits of account number       3621
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $454.60
          Principal Life Insurance                                              Contingent
          PO Box 77202                                                          Unliquidated
          Minneapolis, MN 55480                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5483
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $623.68
          ProChef                                                               Contingent
          PO Box 4057                                                           Unliquidated
          Mooresville, NC 28117                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Toringdon 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $505.06
          Restaurant Depot                                                      Contingent
          2030 John Crosland Dr.                                                Unliquidated
          Charlotte, NC 28208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Toringdon 1511
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,390.61
          RHK Recovery Group (Day & Nite)                                       Contingent
          1670 Old Country Rd., Ste. 202                                        Unliquidated
          Plainview, NY 11803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Stonecrest 1511
          Last 4 digits of account number       0257
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,941.76
          United Health Care                                                    Contingent
          PO Box 94017                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2563
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 8
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              Name

 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $53,201.77
           US Foods                                                             Contingent
           PO Box 602292                                                        Unliquidated
           Charlotte, NC 28260                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of East 1511
           Last 4 digits of account number      9736
                                                                             Is the claim subject to offset?         No    Yes

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $18,786.76
           US Foods                                                             Contingent
           PO Box 602292                                                        Unliquidated
           Charlotte, NC 28260                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Mooresville 1511
           Last 4 digits of account number      2228
                                                                             Is the claim subject to offset?         No    Yes

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $24,873.28
           US Foods                                                             Contingent
           PO Box 602292                                                        Unliquidated
           Charlotte, NC 28260                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Toringdon 1511
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $67,048.00
           Velocity Capital Group                                               Contingent
           333 Pearsall Ave., Ste. 105
                                                                                Unliquidated
           Cedarhurst, NY 11516
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?         No    Yes

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,257.93
           Wilmar, Inc.                                                         Contingent
           PO Box 221272                                                        Unliquidated
           Charlotte, NC 28222                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Debt of Quantum Development Corp.
           Last 4 digits of account number      2639
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Edens Limited Partners
           1221 Main St., Ste. 1000                                                                   Line     3.5
           Columbia, SC 29201
                                                                                                             Not listed. Explain

 4.2       Edens PRSC Holdings, LLC
           1100 Abernathy Rd., NE                                                                     Line     3.5
           Ste. 875
                                                                                                             Not listed. Explain
           ATTN: LEGAL DEPT
           Atlanta, GA 30353-6856


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

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              Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    990,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    809,992.97

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    1,799,992.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 8
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 Fill in this information to identify the case:

 Debtor name         Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Property at 4271 Park
             lease is for and the nature of               Rd.
             the debtor's interest

                  State the term remaining                Lease terminates 2024
                                                                                      Edens (PRSC Holdings)
             List the contract number of any                                          PO Box 536856
                   government contract                                                Atlanta, GA 30353


 2.2.        State what the contract or                   Property at 12330
             lease is for and the nature of               Johnston Rd.
             the debtor's interest

                  State the term remaining                Lease terminates 2030       Koury Corporation
                                                                                      Attn: Doug Heberle, Esq.
             List the contract number of any                                          2275 Vanatory St., Ste. 200
                   government contract                                                Greensboro, NC 27403


 2.3.        State what the contract or                   Property at 12206
             lease is for and the nature of               Copper Way
             the debtor's interest

                  State the term remaining                Lease terminates 2031       Koury Corporation
                                                                                      Attn: Doug Heberle, Esq.
             List the contract number of any                                          2275 Vanatory St., Ste. 200
                   government contract                                                Greensboro, NC 27403


 2.4.        State what the contract or                   Property at 120-D
             lease is for and the nature of               Market Place Ave.
             the debtor's interest

                  State the term remaining                Lease terminates 2029       MP Shopping Center
                                                                                      c/o Southern Real Estate
             List the contract number of any                                          4201 Congress St., Ste. #170
                   government contract                                                Charlotte, NC 28209




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Quantum Development Charlotte, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Richard D.                        2001 Hartwicke Pl.                                Woodforest National                D   2.1
             Campbell                          Charlotte, NC 28270                               Bank                               E/F
                                                                                                                                    G




    2.2      Richard D.                        2001 Hartwicke Pl.                                Internal Revenue                   D
             Campbell                          Charlotte, NC 28270                               Service                            E/F       2.1
                                                                                                                                    G




    2.3      Richard D.                        2001 Hartwicke Pl.                                NC Department of                   D
             Campbell                          Charlotte, NC 28270                               Revenue                            E/F       2.4
                                                                                                                                    G




    2.4      Richard D.                        2001 Hartwicke Pl.                                Diesel                             D
             Campbell                          Charlotte, NC 28270                                                                  E/F       3.3
                                                                                                                                    G




    2.5      Richard D.                        2001 Hartwicke Pl.                                Emerald Group                      D
             Campbell                          Charlotte, NC 28270                               Holdings, LLC                      E/F       3.6
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 2
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 Debtor       Quantum Development Charlotte, LLC                                          Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Richard D.                        2001 Hartwicke Pl.                              Fiji Funding, LLC            D
             Campbell                          Charlotte, NC 28270                                                          E/F       3.8
                                                                                                                            G




    2.7      Richard D.                        2001 Hartwicke Pl.                              Flash Funding                D
             Campbell                          Charlotte, NC 28270                                                          E/F       3.9
                                                                                                                            G




    2.8      Richard D.                        2001 Hartwicke Pl.                              Funding Metrics              D
             Campbell                          Charlotte, NC 28270                                                          E/F       3.13
                                                                                                                            G




    2.9      Richard D.                        2001 Hartwicke Pl.                              Metro Capital, LLC           D
             Campbell                          Charlotte, NC 28270                                                          E/F       3.21
                                                                                                                            G




    2.10     Richard D.                        2001 Hartwicke Pl.                              Velocity Capital             D
             Campbell                          Charlotte, NC 28270                             Group                        E/F       3.35
                                                                                                                            G




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                                                                 Western District of North Carolina
 In re      Quantum Development Charlotte, LLC                                                                        Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Richard D. Campbell                                                 Member                                                      95.4%
 2001 Hartwicke Pl.
 Charlotte, NC 28270


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member/Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date March 15, 2022                                                          Signature /s/ Richard D. Campbell
                                                                                            Richard D. Campbell

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                  Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member/Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 15, 2022                                            /s/ Richard D. Campbell
                                                                       Richard D. Campbell/Member/Manager
                                                                       Signer/Title




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                      Arc3 Gases
                      518 W. 24th St.
                      Charlotte, NC 28206


                      BenefitBay
                      13750 Millard Ave., Ste. 100
                      Omaha, NE 68137


                      Diesel
                      Business Capital, LLC
                      88 Pine St.
                      New York, NY 10005


                      DS1 Phone Systems
                      13500 Crystal Springs Dr.
                      Huntersville, NC 28078


                      Edens (PRSC Holdings)
                      PO Box 536856
                      Atlanta, GA 30353


                      Edens Limited Partners
                      1221 Main St., Ste. 1000
                      Columbia, SC 29201


                      Edens PRSC Holdings, LLC
                      1100 Abernathy Rd., NE
                      Ste. 875
                      ATTN: LEGAL DEPT
                      Atlanta, GA 30353-6856


                      Emerald Group Holdings, LLC
                      48 Wall St., 10th Floor
                      New York, NY 10005


                      Employers
                      PO Box 539003
                      Henderson, NV 89053


                      Fiji Funding, LLC
                      c/o Yehuda Jay Klein, Esq.
                      The Klein Law Firm
                      3180 18th St.
                      San Francisco, CA 94110
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                  Flash Funding
                  4000 Hollywood Blvd.
                  Hollywood, FL 33021


                  Freshpoint
                  1200 Oakley Industrial Blvd., Ste. B
                  Fairburn, GA 30213


                  Funding Metrics
                  1330 Ave. of the Americas, Ste. 23A
                  New York, NY 10019


                  Huneycutt
                  3840 Matthews Indian Trail Rd., Ste. 2
                  Matthews, NC 28104


                  Insurance Office of America
                  1221 Bower Pkwy., Ste. 101
                  Columbia, SC 29212


                  Internal Revenue Service
                  320 Federal Place
                  Greensboro, NC 27401


                  Iredell Co. Tax Collector
                  P. O. Box 1027
                  Statesville, NC 28687


                  Jewell Agency
                  18 Sunrise Point Ct.
                  Lake Wylie, SC 29710


                  Koury Corporation
                  Attn: Doug Heberle, Esq.
                  2275 Vanatory St., Ste. 200
                  Greensboro, NC 27403


                  Loomis Insurance
                  PO Box 14354
                  Reading, PA 19612


                  Mecklenburg County Tax Collector
                  3205 Freedom Dr., #3000
                  Charlotte, NC 28208
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                  Metro Capital, LLC
                  600 Center St.
                  Herndon, VA 20170


                  MP Shopping Center
                  c/o Southern Real Estate
                  4201 Congress St., Ste. #170
                  Charlotte, NC 28209


                  NC Department of Revenue
                  P. O. Box 25000
                  Raleigh, NC 27640


                  O'Keefe Group (TOG)
                  PO Box 1240
                  Attleboro, MA 02703


                  Oilmatic
                  521 Eagleton Downs Dr., Ste. A
                  Pineville, NC 28134


                  Penn National Insurance
                  2 North Second St.
                  Harrisburg, PA 17101


                  Postec
                  1125 Northmeadow Pkwy., Ste. 114
                  Roswell, GA 30076


                  Principal Life Insurance
                  PO Box 77202
                  Minneapolis, MN 55480


                  ProChef
                  PO Box 4057
                  Mooresville, NC 28117


                  Restaurant Depot
                  2030 John Crosland Dr.
                  Charlotte, NC 28208


                  RHK Recovery Group (Day & Nite)
                  1670 Old Country Rd., Ste. 202
                  Plainview, NY 11803
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                  Richard D. Campbell
                  2001 Hartwicke Pl.
                  Charlotte, NC 28270


                  United Health Care
                  PO Box 94017
                  Palatine, IL 60094


                  US Foods
                  PO Box 602292
                  Charlotte, NC 28260


                  Velocity Capital Group
                  333 Pearsall Ave., Ste. 105
                  Cedarhurst, NY 11516


                  Wilmar, Inc.
                  PO Box 221272
                  Charlotte, NC 28222


                  Woodforest National Bank
                  c/o Thomas L. Ogburn, III, Esq.
                  301 S. College St., Ste. 2900
                  Charlotte, NC 28202
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Quantum Development Charlotte, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 March 15, 2022                                                      /s/ R. Keith Johnson
 Date                                                                R. Keith Johnson
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Quantum Development Charlotte, LLC
                                                                     Law Offices of R. Keith Johnson, P.A.
                                                                     1275 S. Hwy. 16
                                                                     Stanley, NC 28164
                                                                     704-827-4200 Fax:704-827-4477
                                                                     kjparalegal@bellsouth.net




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